Case 2:OO-CV-02923-SH|\/|-egb Document 257 Filed 07/25/05 Pagelof4 P e|D 433

mmav__, '_,__M
IN THE UNITED STATES DISTRICT cOURT
FoR THE wESTERN DISTRICT oF TENNESSEEUSMZD an sgka
wEsTERN DIvIsION

 

HBVFHMEWE
EQUAL EMPLOYMEN'I‘ OPPORTUNITY GUYYW§MMT
COMMISSION, and
coNsTANCE AMOS,
Plaintiffs,
VS‘ No. 00-2923-Ma

AUTOZONE, INC . ,

Defendant.

 

ORDER GRANTING MOTION 'I‘O EXCEED PAGE LIMITATION
AND EXTENDING TIME 'I'O RESPOND

 

Before the court is plaintiff's July 21, 2005, unopposed
motion requesting permission to file its reply to defendant’s
motion for summary judgment which is in excess of the Rule 7.2(e)
page limitation. For good cause shown, the motion is granted and
plaintiff may file the reply in excess of the page limitation.

Also before the court is plaintiff’s July 21, 2005,
unopposed motion requesting an extension of time within which to
file its response to defendant’s motion for summary judgment.

For good cause shown, the motion is granted. Plaintiff will file
its response by July 25, 2005.

lt is 30 0RDERED this Tz°kaay of July, 2005.

JWW"L/

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

Thls document entered on the docket sheer in com 'ance
with Ru!e 36 and/or 79{3) FHCP on _J '.Z.Q_£'

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 257 in
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July 26, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

